  Case 21-10827       Doc 26     Filed 06/18/21 Entered 06/18/21 16:14:10             Desc Main
                                   Document     Page 1 of 4



                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                    (Eastern Division)



In re
                                                  Chapter 11
                                                  Case No. 21-10827-FJB
         KC PANORAMA LLC, et al.,
                                                  (Jointly Administered)
                       Debtor.


         LIMITED OPPOSITION OF KHRE SMA FUNDING, LLC, TO MOTION
        AND APPLICATION OF HDG CONGRESS, LLC, AND HDG STUART, LLC,
         TO EMPLOY LAER REALTY PARTNERS AS REAL ESTATE BROKER

         KHRE SMA Funding, LLC (“KHRE”), the holder of first-priority secured claims against

KC Panorama LLC, HDG Congress, LLC, and HDG Stuart, LLC (collectively, the “Debtors”),

hereby files this limited Opposition to the Motion and Application of HDG Congress, LLC, and

HDG Stuart, LLC, to Employ LAER Realty Partners as Real Estate Broker [Doc. No. 10] (the

“Motion to Employ”). The Motion to Employ is not clear on which properties are being

marketed for sale, nor is it clear what commission will be paid to the proposed broker.

Regardless of which properties are being listed, the proposed listing price is not sufficient to

satisfy the secured claims of KHRE. Finally, the Debtors have provided no information in

connection with their selection of LAER Realty Partners as broker or the proposed broker’s

expertise in commercial properties. In further support of this Opposition, KHRE represents as

follows:

         1.    On June 4, 2021 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the

United States Bankruptcy Court for the District of Massachusetts (Eastern Division).

         2.    Prior to the Petition Date, KHRE and the Debtors entered into written loan


13305249.1
  Case 21-10827        Doc 26       Filed 06/18/21 Entered 06/18/21 16:14:10        Desc Main
                                      Document     Page 2 of 4



agreements whereby KHRE advanced funds to the Debtors in the original principal amount of

$21,500,000.00 (collectively, the “Loans”).

         3.    Pursuant to the Loans, the Debtors provided a first-priority mortgage to KHRE on

several properties: (a) 13-15 Congress Street, Boston, Massachusetts (“13-15 Congress”); (b) 19-

21 Congress Street, Boston, Massachusetts (“19-21 Congress”); (c) 27 Stuart Street #29, Boston,

Massachusetts (“Stuart”); and (d) 5 Concord Street, Weston, Massachusetts (“Weston”)

(collectively, the “Properties”).

         4.    According to the Debtors Schedule A/B of assets, pursuant to broker’s price

opinions, the aggregate value of the Properties is $34,651,346.00:

               a.      13-15 Congress—$14,771,286.40

               b.      19-21 Congress—$4,482,233.60

               c.      Stuart—$3,695,120.00

               d.      Weston—$11,702,706.00

KHRE does not assent to the values submitted by the Debtor, and expressly reserves all of its

rights with respect to the value of the Properties.

         5.    According to the Debtors’ Schedules, the only other claims against the Properties

are asserted by applicable taxing authorities.

         6.    Prior to the Petition Date, the Debtors were in default pursuant to the Loans, and

KHRE had initiated foreclosure proceedings. A foreclosure sale was scheduled for June 9, 2021,

with respect to Weston, and June 10, 2021, with respect to the remaining Properties.

         7.    Upon information and belief, the Debtors filed for bankruptcy protection in order

to stop the foreclosure proceedings. According to the Debtors’ Schedules, there are no other

significant creditors besides KHRE.

         8.    As of the Petition Date, KHRE was owed a total of at least $24,857,818,


13305249.1
  Case 21-10827       Doc 26     Filed 06/18/21 Entered 06/18/21 16:14:10            Desc Main
                                   Document     Page 3 of 4



comprising $21,500,000 in outstanding principal, $3,096,000 in accrued interest, and

approximately $261,318 in late fees, auctioneers’ fees, attorneys’ fees, and costs, all of which

continue to accrue. These figures are estimates only, and do not include certain foreclosure

auction expenses that have not yet been determined, as well as ongoing legal and related

expenses. KHRE expressly reserves all rights with respect to the calculation and determination of

its claim.

         9.    The Debtors filed the Motion to Employ seeking authority to retain LAER Realty

Partners (“LAER”). According to the Motion to Employ, LAER will be engaged to sell 13-15

Congress, 19-21 Congress, and Stuart. The Motion to Employ does not indicate a listing price for

the various Properties. The listing agreement attached as an exhibit to the Motion to Employ,

however, lists only 13-15 Congress and 19-21 Congress. The proposed listing price is

$19,250,000.

         10.   Notwithstanding the disagreement between the motion and the exhibit, the

proposed listing price is vastly lower than the amount necessary to satisfy the secured claims of

KHRE.

         11.   The Motion to Employ also proposes a commission to LAER Realty Partners

(“LAER”) of 3.5%. The Motion to Employ goes on to provide for a prospective 2% commission

to any buyer’s agent if applicable. Although the Motion to Employ indicates that any buyer’s

agent commission will be deducted from the 3.5% broker’s commission, the listing agreement

does not appear clear on that point. Regardless, the proposed commission is too high and does

not appear competitive or even commercially reasonable for this type of sale.

         12.   The listing agreement also provides for the exclusive listing with LAER through

the end of 2021. Neither the Debtors nor LAER have provide any basis for such a lengthy




13305249.1
  Case 21-10827        Doc 26     Filed 06/18/21 Entered 06/18/21 16:14:10           Desc Main
                                    Document     Page 4 of 4



exclusive agreement.

         13.     The Motion to Employ proposes to engage a broker to sell at least two and

possibly three commercial properties in the heart of downtown Boston. The Properties are

specialized and complex. The Debtors have provided no narrative of LAER’s capability,

experience, or expertise with such commercial real estate properties, nor have the Debtors

provided any explanation of their search and selection process for the proposed broker.

         WHEREFORE, for all of the foregoing reasons, KHRE requests that the Court enter an

order: (i) denying the Motion to Employ; and (ii) granting such other and further relief as just

and necessary.

                                                     Respectfully submitted,

                                                     KHRE SMA Funding, LLC,

                                                     By its attorneys,


                                                     /s/ Alex F. Mattera______________
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Dated: June 18, 2021




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